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                        IN THE UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                   MIAMI DIVISION

 WAJDAN MOHAMMAD AND FERYAL                             CASE NO.: 1:18-cv-23332-JEM
 MOHAMMAD,

        Plaintiffs,
 vs.

 CITIBANK, N.A.,

        Defendant.
                                               /

                          PLAINTIFF’S NOTICE OF SETTLEMENT

        COME NOW, Plaintiffs, Wajdan Mohammad and Feryal Mohammad (“Plaintiffs”), by

 and through undersigned counsel, and hereby file this Notice of Settlement and state that Plaintiffs

 and Defendant, Citibank, N.A., have come to an amicable settlement agreement.

 Date: October 11, 2018

                                 CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on this 11th day of October, 2018, I electronically filed the
 foregoing document with the Clerk of Court using CM/ECF. I also certify that the foregoing
 document is being served this day on all counsel of record or pro se parties either via transmission
 of Notices of Electronic Filing generated by CM/ECF or in some other authorized manner for those
 counsel or parties who are not authorized to receive electronically Notices of Electronic Filing,
 including the following party:

        Citibank, N.A.
        388 Greenwich St.
        New York, NY 10013

                                               /s/ Christopher W. Boss
                                               Christopher W. Boss, Esq.
                                               FL Bar No.: 13183
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